  Case 19-30353         Doc 28      Filed 10/30/19 Entered 10/30/19 13:55:50         Desc Main
                                      Document     Page 1 of 5


                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NORTH DAKOTA

In re:                                        )      Bky. Case No. 19-30353
                                              )      Chapter 7
Jamie Harrington,                             )
Darielle Harrington,                          )      NOTICE AND MOTION FOR
                                              )      APPROVAL OF SALE OF PROPERTY
                        Debtors.              )
                                              )

         Gene W. Doeling, the bankruptcy trustee in this case, requests that the Court approve the

online auction sale of assets as described below, to be conducted by Helbling Auctioneers on

www.k-bid.com.

                1.      2004 Honda Tax F-12 Jet Ski;
                2.      2007 Ski Doo MXZ500 snowmobile.

         The auction shall run for a period of 14 days, beginning November 26, 2019 and ending

on December 10, 2019. The application to employ Helbling Auctioneers has been filed with the

court with the following terms and conditions: 15% commission on the gross sales price, plus

$400 to pick up the items which are located in Bismarck, ND and take them to the auction location

and out of pocket costs for minor repairs, a 13% K-Bid buyer’s premium with a cap at $1,000 per

item sold, and a $35 documentation fee on the title work. The assets are to be sold AS IS AND

WHERE IS, with no warranties or representations. The trustee requests that he be authorized to

pay these fees immediately upon completion of the sale.

         The bankruptcy estate has determined that there will be no adverse tax consequences to the

bankruptcy estate as a result of this sale.

NOTICE OF MOTION: Your rights may be affected in this action. You should read these papers
carefully and discuss the matters with your attorney if you have one. Any objections to this motion
must be made within 21 days of this date with an original filed with the Clerk of Bankruptcy Court
and copies served upon the Bankruptcy Trustee and United States Trustee at the addresses stated
below. Failure to timely respond to this motion will be deemed a waiver of any objections and the
Court will grant such relief as it deems appropriate.
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Clerk, U.S. Bankruptcy Court            United States Trustee            Trustee
Quentin N. Burdick U.S. Courthouse      314 South Main Ave.              (See
655 First Ave. N. – Suite 210           Suite 303                        address
Fargo, ND 58107-4932                    Sioux Falls, SD 57104-6462       below)


DATE OF MAILING: October 30, 2019       /s/ Gene W. Doeling
                                        Gene W. Doeling
                                        Bankruptcy Trustee
                                        P.O. Box 9231
                                        Fargo, ND 58106
                                        (701) 232-8757
             Case 19-30353         Doc 28      Filed 10/30/19 Entered 10/30/19 13:55:50                 Desc Main
                                                 Document     Page 3 of 5




                                   UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NORTH DAKOTA

IN RE: JAMIE HARRINGTON                                         CASE NO: 19-30353
       DARIELLE HARRINGTON                                      DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 10/30/2019, I did cause a copy of the following documents, described below,
Notice and Motion for Approval of Sale of Property




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 10/30/2019
                                                          /s/ Gene W. Doeling
                                                          Gene W. Doeling 05078
                                                          Kaler Doeling, PLLP
                                                          3429 Interstate Blvd. S.
                                                          Fargo, ND 58103
                                                          701 232 8757
                 Case 19-30353           Doc 28       Filed 10/30/19 Entered 10/30/19 13:55:50                       Desc Main
                                                        Document     Page 4 of 5




                                        UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF NORTH DAKOTA

 IN RE: JAMIE HARRINGTON                                                CASE NO: 19-30353
        DARIELLE HARRINGTON
                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 10/30/2019, a copy of the following documents, described below,

Notice and Motion for Approval of Sale of Property




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 10/30/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Gene W. Doeling
                                                                            Kaler Doeling, PLLP
                                                                            3429 Interstate Blvd. S.
                                                                            Fargo, ND 58103
             Case AS
PARTIES DESIGNATED 19-30353      DocNOT
                      "EXCLUDE" WERE  28 SERVED
                                           FiledVIA
                                                  10/30/19
                                                    USPS FIRST Entered   10/30/19 13:55:50 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document        Page 5 of 5
CASE INFO                                BNC NATIONAL BANK                        BANK OF AMERICA
1LABEL MATRIX FOR LOCAL NOTICING         322 E MAIN                               PO BOX 982238
08683                                    BISMARCK ND 58501-4010                   EL PASO TX 79998-2238
CASE 19-30353
DISTRICT OF NORTH DAKOTA
FARGO
WED OCT 30 13-33-43 CDT 2019


                                         EXCLUDE                                  EXCLUDE
DEPARTMENT OF THE TREASURY
15TH PENNSYLVANIA                        GENE W DOELING                           ROSS H ESPESETH
WASHINGTON DC 20222-0001                 BANKRUPTCY TRUSTEE                       BORMANN MYERCHIN ESPESETH EDISON LLP
                                         3429 INTERSTATE BLVD S                   CITY CENTER PLAZA SUITE 240
                                         PO BOX 9231                              418 EAST BROADWAY AVENUE
                                         FARGO ND 58106-9231                      PO BOX 995
                                                                                  BISMARCK ND 58502-0995



FIRST COMMUNITY CREDIT UNION             FIRST INTERNATIONAL BANK    TRUST        FIRST NATIONAL BANK OF OMAHA
PO BOX 2075                              PO BOX 1240                              1620 DODGE STREET STOP CODE 3105
JAMESTOWN ND 58402-2075                  MINOT ND 58702-1240                      OMAHA NE 68197-0002




                                                                                  DEBTOR
FORD MOTOR CREDIT COMPANY                DARIELLE JEANETTE HARRINGTON
P O BOX 62180                            8500 BURNT CREEK ISLAND ROAD             JAMIE STEVEN HARRINGTON
COLORADO SPRINGS CO 80962-2180           BISMARCK ND 58503-9239                   8500 BURNT CREEK ISLAND ROAD
                                                                                  BISMARCK ND 58503-9239




INTERNAL REVENUE SERVICE                 NATIONAL FUNDING                         NISSAN MORTOR ACCEPTANCE CORPORATION
PO BOX 7346                              9820 TOWNE CENTRE DRIVE                  BANKRUPTCY DEPARTMENT
PHILADELPHIA PA 19101-7346               SAN DIEGO CA 92121-1944                  PO BOX 660366
                                                                                  DALLAS TX 75266-0366




BRIAN J PORTER                           ROBERT B RASCHKE                         SCHEELS VISA
HALLIDAY WATKINS MANN                    ASSISTANT US TRUSTEE                     PO BOX 3331
376 EAST 400 SOUTH STE 300               SUITE 1015 US COURTHOUSE                 OMAHA NE 68103-0331
SALT LAKE CITY UT 84111-2906             300 SOUTH FOURTH STREET
                                         MINNEAPOLIS MN 55415-1320




SECURITIES EXCHANGE COMMISSION           SYNCHRONY BANK                           MICHAEL M THOMAS
175 W JACKSON BLVD                       PO BOX 965048                            CONMY FESTE LTD
CHICAGO IL 60604-2908                    ORLANDO FL 32896-5048                    PO BOX 2686
                                                                                  FARGO ND 58108-2686




US ATTORNEY                              US BANK                                  US BANK
655 FIRST AVENUE NORTH SUITE 250         3318 N 14TH ST                           PO BOX 5229
FARGO ND 58102-4932                      BISMARCK ND 58503-1614                   CINCINNATI OH 45201-5229
